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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
CARMEN JOHN PERRI                                         CASE NUMBER:

                                          Plaintiff(s),     8:19−cv−01672−KES

       v.
STOEWSAND AND BORDEN, INC., et al.
                                                                NOTICE OF DEFICIENCY
                                        Defendant(s).        DEFAULT/DEFAULT JUDGMENT

PLEASE TAKE NOTICE:

The Clerk cannot enter the requested Default of WINEBRIGHT WARNER, LLC, for the following
reason(s):

     No declaration as required by F.R.Civ.P 55(a)
     No proof of service/waiver of service on file
     The name of the person served does not exactly match the person named in complaint
     Proof of Service is lacking required information
     Waiver of Service lacking the signature of the sender and/or the person acknowledging receipt
     Time to respond has not expired
     Answer and/or Motion for Summary Judgment and/or Motion to Dismiss on file
     Request for Entry of Default has been forwarded to the assigned Judge
     Party dismissed from action on
     Case terminated on
     Requesting party shall file a new Request/Application with noted deficiencies corrected in order to
     have default reconsidered.
X    Other: The Registered Agent for Service of Process is Lee Scott.

The Clerk cannot enter the requested Default Judgment against       for the following reason(s):

     No Entry of Default on file
     No declaration as required by F.R.Civ.P 55(b)
     The name of the person for which Default Judgment is requested does not exactly match the person
     named in the complaint
     Amounts requested differ or exceed the amounts prayed for in the demand for judgment in the most
     recently filed complaint
     A declaration establishing the amount due must accompany the plaintiff’s request for default
     judgment
     No judgment by default may be entered by the Clerk against the United States or an incompetent
     person. The Request for Entry of Default has been forwarded to the assigned Judge
     Amount sought is not for a sum certain or cannot be computed to a sum certain
     Attorney Fees sought not in compliance with Local Rule 55−3
     Amount sought for costs is incorrect
     Case terminated on
     Requesting party shall file a new Request/Application with noted deficiencies corrected in order to
     have default judgment reconsidered.
     Other:

                                        CLERK, U.S. DISTRICT COURT

Date: October 17, 2019                  By: /s/ Shea Bourgeois
                                           Deputy Clerk
                                           shea_bourgeois@cacd.uscourts.gov

CV−52B(09/12)            NOTICE OF DEFICIENCY − DEFAULT/DEFAULT JUDGMENT
